UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                   :
 JOVANI FASHION, LTD.,                                             :
                                              Plaintiff,           :
                            -against-                              :    23 Civ. 1994 (LGS)
                                                                   :
 JASZ COUTURE, INC., et al.,                                       :          ORDER
                                              Defendants.          :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for April 26, 2023.

        WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan. It is hereby

        ORDERED that the April 26, 2023, initial pretrial conference is CANCELLED. If the parties

believe that a conference would nevertheless be useful, they should inform the court immediately so the

conference can be reinstated. The case management plan and scheduling order will issue in a separate

order. The parties’ attention is directed to the provisions for periodic status letters, and the need for a

pre-motion letter to avoid cancellation of the final conference and setting of a trial date. It is further

        ORDERED that if Defendants seek to file a motion to dismiss the Complaint, they shall file a

pre-motion letter pursuant to Individual Rules III.A.1 and III.C.2. It is further

        ORDERED, regarding settlement discussions, when the parties would like a referral for

settlement discussions before Magistrate Judge Ona T. Wang or a mediator in the Southern District of

New York mediation program, they shall file a joint letter on ECF requesting such a referral.

        The parties should be aware that the Court does not extend the deadlines for fact and expert

discovery absent compelling circumstances.

Dated: April 20, 2023
       New York, New York
